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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                        :       CASE NO. 22-52950-pmb
                                               :
 ATLANTA LIGHT BULBS, INC.,                    :       CHAPTER 7
                                               :
        Debtor.                                :       JUDGE BAISIER

                                     NOTICE OF HEARING

         PLEASE TAKE NOTICE that TUCKER ELLIS LLP has filed a FIRST AND FINAL
 APPLICATION OF TUCKER ELLIS LLP FOR ALLOWANCE OF COMPENSATION
 FOR PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT OF
 EXPENSES INCURRED FOR THE PERIOD JUNE 10, 2022 THROUGH JULY 7, 2022 and
 related papers with the Court seeking an order approving professional fees.

        PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
 hearing for announcements on the FIRST AND FINAL APPLICATION OF TUCKER ELLIS
 LLP FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
 RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED PERIOD JUNE 10,
 2022 THROUGH JULY 7, 2022 at the following number: toll-free number: 833-568-8864;
 meeting id 161 706 9079, at 1:20 PM on October 24, 2022 in Courtroom 1202, United States
 Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

        Matters that need to be heard further by the Court may be heard by telephone, by video
 conference, or in person, either on the date set forth above or on some other day, all as determined
 by the Court in connection with this initial telephonic hearing. Please review the “Hearing
 Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual
 Bankruptcy Hearing Information” link at the top of the webpage for this Court,
 www.ganb.uscourts.gov for more information.

         Your rights may be affected by the court’s ruling on these pleadings. You should read
 these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
 case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
 to grant the relief sought in these pleadings or if you want the court to consider your views, then
 you and/or your attorney must attend the hearing. You may also file a written response to the
 pleading with the Clerk at the address stated below, but you are not required to do so. If you file
 a written response, you must attach a certificate stating when, how and on whom (including
 addresses) you served the response. Mail or deliver your response so that it is received by the
 Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk,
 U. S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also
 mail a copy of your response to the undersigned at the address stated below.



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 Dated: September 26, 2022               Respectfully submitted,

                                         THE OFFICIAL COMMITTEE OF UNSECURED
                                         CREDITORS OF ATLANTA LIGHT BULBS, INC.


                                     By: /s/Kathleen G. Furr
                                        Kathleen G. Furr (GA Bar No. 589008)
                                        BAKER DONELSON BEARMAN CALDWELL &
                                        BERKOWITZ, PC
                                        3414 Peachtree Road, N.E.
                                        Atlanta, Georgia 30326
                                        (404) 577-6000 (Telephone)
                                        (404) 221-6501 (Facsimile)
                                        kfurr@bakerdonelson.com

                                         Co-Counsel for the Official Committee of
                                         Unsecured Creditors of Atlanta Light Bulbs, Inc.

                                                -and-

                                         Jason M. Torf (admitted pro hac vice)
                                         Brian J. Jackiw (admitted pro hac vice)
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                                         233 S. Wacker Dr.
                                         Suite 6950
                                         Chicago, Illinois 60606-9997
                                         (312) 256-9432 (Telephone)
                                         (312) 624-6309 (Facsimile)
                                         jason.torf@tuckerellis.com
                                         brian.jackiw@tuckerellis.com

                                         Co-Counsel for the Official Committee of
                                         Unsecured Creditors of Atlanta Light Bulbs, Inc.




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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   IN RE:                                      :      CASE NO. 22-52950-pmb
                                               :
   ATLANTA LIGHT BULBS, INC.,                  :      CHAPTER 7
                                               :
          Debtor.                              :      JUDGE BAISIER

           FIRST AND FINAL APPLICATION OF TUCKER ELLIS LLP
     FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
     RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE
                PERIOD JUNE 10, 2022 THROUGH JULY 7, 2022

          COMES NOW Tucker Ellis LLP (hereinafter “Tucker Ellis” or “Applicant”), counsel

   for the Official Committee of Unsecured Creditors (the “Committee”), and files this First

   and Final Application for Allowance of Compensation for Professional Services Rendered

   and Reimbursement of Expenses Incurred for the Period June 10, 2022 through July 7, 2022

   (the “Tucker Ellis Fee Application”) in the total amount of $54,933.89 for the period from

   June 10, 2022 through July 7, 2022 (the “Fee Period”).

                               JURISDICTION AND VENUE

          1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

   1334. The Baker Donelson Fee Application constitutes a core proceeding pursuant to 28

   U.S.C. § 157(b).

          2.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                      BACKGROUND

          3.     On April 15, 2022, Halco Lighting Technologies, LLC, Norcross Electric

   Supply Company, and Candela Corporation filed an involuntary petition for relief under



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   Chapter 11 of the Bankruptcy Code (the “Bankruptcy Code”) against Atlanta Light Bulbs,

   Inc. (the “Debtor”) in the United States Bankruptcy Court for the Northern District of

   Georgia. [Docket No. 1].

          4.     On June 8, 2022, the Office of the United States Trustee appointed the

   Committee as an official committee to represent the interests of unsecured creditors of the

   Debtor pursuant to section 1102 of the Bankruptcy Code. [Docket No. 37].

          5.     The Committee is comprised of the following creditors and parties in interest:

                Member                                     Primary Representative
          Halco Lighting Technologies               Chris Chickanosky (Chair)
          Candela Corporation                       James Baas
          Norcross Electric Supply Company          Jim C. Joedecke, Jr.

          6.     On June 10, 2022, the Committee selected Tucker Ellis LLP as counsel and

   Baker Donelson as local Georgia counsel.

          7.     On July 7, 2022, the Chapter 11 case was converted to a case under Chapter

   7 of the Bankruptcy Code by this Court. [Docket No. 109].

                              RETENTION AND SCOPE OF SERVICES

          8.     On June 13, 2022, Tucker Ellis filed an application to be retained as counsel

   (the “Employment Application”), nunc pro tunc to June 10, 2022, for the Committee pursuant

   to § 327(a) of the Bankruptcy Code and Rule 2014(a) of the Federal Rules of Bankruptcy

   Procedure (“Bankruptcy Rules”). [Docket No. 49].

          9.     The Employment Application was approved by this Court on June 22, 2022.

   [Docket No. 85]. The scope of Tucker Ellis’ retention is set forth in the Employment

   Application and the attached Declaration of Jason M. Torf. See [Docket No. 49, Exhibit A].



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       COMPENSATION AND REIMBURSEMENT OF EXPENSES REQUESTED

          10.     Tucker Ellis submits the Tucker Ellis Fee Application pursuant to sections

   330 and 331 of the Bankruptcy Code and Bankruptcy Rule 2016 for the first and final

   allowance of reasonable compensation for actual and necessary professional services

   provided and for reimbursement of actual and necessary out-of-pocket expenses incurred in

   representing the Committee during the Fee Period.

          11.     Tucker Ellis seeks payment of (i) compensation for professional services

   performed during the course of this Chapter 11 Case in the amount of $53,660.50, and (ii)

   its actual and necessary expenses incurred in connection with the rendering of such services

   in the amount of $1,273.39.

          12.     During the Fee Period, 94.00 hours were expended by the following Tucker

   Ellis professionals:

                Professional              Position              Rate
                Jason M. Torf             Partner               $610.00
                Brian J. Jackiw           Counsel               $475.00
                Connor Doughty            Associate             $330.00


          13.     There is no agreement or understanding between Tucker Ellis and any other

   person, other than members of the firm, for the sharing of compensation to be received for

   services rendered in the case.

          14.     Tucker Ellis prepared statements, which provide detailed descriptions of

   services rendered for the Fee Period by date, time, nature of service performed, which are

   attached hereto as EXHIBIT A.




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                                SERVICES PERFORMED

        15.   Among other services, Tucker Ellis:

              a. Analyzed and advised the Committee regarding Chapter 11 strategy

                    considerations and local procedures;

              b. Analyzed and provided recommendations related to Tandem Bank’s

                    Motion to Dismiss Bankruptcy Case [Docket No. 23], Tandem Bank’s

                    Motion for Relief from the Automatic Stay [Docket No. 33], Tandem

                    Bank’s Motion Requesting an Order Prohibiting use of Cash Collateral

                    [Docket No. 35], and Tandem Bank’s Supplement to Motion to Dismiss

                    Bankruptcy Case (Requesting Conversion to Chapter 7 as Alternative

                    Relief) [Docket No. 40] (collectively, “Tandem Bank’s Motions”);

              c. Conducted research for and prepared responses and objections to Tandem

                    Bank’s Motions;

              d. Prepared for and appeared at the contested hearing on Tandem Bank’s

                    Motions;

              e. Drafted a Motion for Appointment of Chapter 11 Trustee [Docket No. 51]

                    (the “Trustee Motion”);

              f. Prepared for and appeared at the contested hearing on the Trustee Motion;

              g. Participated in multiple conversations with the Committee, counsel for

                    Tandem Bank, and counsel for Jesse Root regarding Tandem Bank’s

                    Motions; and




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                  h. Reviewed multiple proposed orders relating to matters before the Court

                     on June 13, 2022.

          16.     A more detailed description of the day-to-day services and time expended in

   performing such services during the Fee Period are fully set forth in EXHIBIT A.

                     RELIEF REQUESTED AND BASIS FOR RELIEF

          17.     By this Tucker Ellis Fee Application, Tucker Ellis respectfully requests that

   this Court enter an order authorizing the payment of $53,660.50 in professional fees and

   $1,273.39 in reimbursement of expenses, pursuant to section 330 of the Bankruptcy Code

   and Rule 2016 of the Bankruptcy Rules, for the Fee Period.

          18.     Sections 330 and 331 of the Bankruptcy Code provide the statutory basis for

   compensation of professionals in bankruptcy cases. Section 330 provides that a court may

   award a professional employed under section 1103 of the Bankruptcy Code “reasonable

   compensation for actual, necessary services rendered…and reimbursement for actual,

   necessary expenses.” 11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the

   award of such compensation and reimbursement:

                  In determining the amount of reasonable compensation to be
                  awarded to an examiner, trustee under chapter 11, or
                  professional person, the court shall consider the nature, the
                  extent, and the value of such services, taking into account all
                  relevant factors, including-

                  (A) the time spent on such services;
                  (B) the rates charged for such services;
                  (C) whether the services were necessary to the administration
                  of, or beneficial at the time at which the service was rendered
                  toward the completion of, a case under this title;
                  (D) whether the services were performed within a reasonable
                  amount of time commensurate with the complexity,



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                  importance, and nature of the problem, issue, or task
                  addressed;
                  (E) with respect to a professional person, whether the person
                  is board certified or otherwise has demonstrated skill and
                  experience in the bankruptcy field; and
                  (F) whether the compensation is reasonable based on the
                  customary compensation charged by comparably skilled
                  practitioners in cases other than cases under this title.

   11 U.S.C. § 330(a)(3).

            19.   Tucker Ellis respectfully represents to the Court that the fees and expenses

   requested herein are allowable and reasonable and satisfies the standards and guidelines as

   set forth in Johnson v. Georgia Highway Express, 488 F.2d 714 (5th Cir. 1974) and 11 U.S.C.

   § 330.

            20.   Furthermore, Tucker Ellis submits the services rendered to the Committee

   were necessary and beneficial to the Committee, the Debtor’s estate, and other parties in

   interest, and the compensation herein requested is reasonable in light of the nature, extent

   and value of such services and the unusual circumstances presented in this case.

                   REASONABLE AND NECESSARY EXPENSES INCURRED

            21.   As a part of its ordinary course of business activity, Tucker Ellis keeps

   contemporaneous records of expenses incurred on behalf of clients. Tucker Ellis’ clerical

   and bookkeeping staff recorded the expense information in EXHIBIT A at or about the same

   time as such charges occurred.

            22.   The expenses totaling $1,273.39 represent costs for Jason Torf, lead counsel

   for the Committee, to travel to Atlanta to appear on behalf of the Committee at the hearing

   on June 13, 2022 on Tandem Bank’s Motions.




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             23.   Tucker Ellis’ billing rates do not include as overhead components the charges

   for copying, postage, or other similar expenses (although no such expenses are included on

   EXHIBIT A).

               24. All expenses reflected in EXHIBIT A are reasonable and were necessary to

   Tucker Ellis’ representation of the Committee. All expenses in EXHIBIT A were incurred

   on the Committee’s behalf in the amounts set forth in Exhibit A and were necessary as part

   of Tucker Ellis’ Committee representation.

             WHEREFORE, Tucker Ellis respectfully requests that the Court enter an Order:

             (A)   Approving the fees incurred by Tucker Ellis on a first and final basis during

   the Fee Period in the total amount of $54,933.89, consisting $53,660.50 of fees incurred and

   $1,273.39 of expenses and authorizing the Chapter 7 Trustee to remit the amount of

   $54,933.89 to Tucker Ellis; and

             (B)   Granting Applicant such other and further relief as this Court deems just and

   proper.




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   Dated: September 26, 2022            Respectfully submitted,

                                        THE OFFICIAL COMMITTEE OF UNSECURED
                                        CREDITORS OF ATLANTA LIGHT BULBS, INC.


                                     By: /s/Kathleen G. Furr
                                        Kathleen G. Furr (GA Bar No. 589008)
                                        BAKER         DONELSON         BEARMAN
                                        CALDWELL & BERKOWITZ, PC
                                        3414 Peachtree Road, N.E.
                                        Atlanta, Georgia 30326
                                        (404) 577-6000 (Telephone)
                                        (404) 221-6501 (Facsimile)
                                        kfurr@bakerdonelson.com

                                        Co-Counsel for the Official Committee of
                                        Unsecured Creditors of Atlanta Light Bulbs,
                                        Inc.

                                               -and-

                                        Jason M. Torf (admitted pro hac vice)
                                        Brian J. Jackiw (admitted pro hac vice)
                                        TUCKER ELLIS LLP
                                        233 S. Wacker Dr.
                                        Suite 6950
                                        Chicago, Illinois 60606-9997
                                        (312) 256-9432 (Telephone)
                                        (312) 624-6309 (Facsimile)
                                        jason.torf@tuckerellis.com
                                        brian.jackiw@tuckerellis.com

                                        Co-Counsel for the Official Committee of
                                        Unsecured Creditors of Atlanta Light Bulbs,
                                        Inc.




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                                 CERTIFICATE OF SERVICE
        I hereby certify that on the 26th day of September 2022, I electronically filed the foregoing

 FIRST AND FINAL APPLICATION OF TUCKER ELLIS LLP FOR ALLOWANCE OF

 COMPENSATION             FOR      PROFESSIONAL            SERVICES         RENDERED           AND

 REIMBURSEMENT OF EXPENSES INCURRED PERIOD JUNE 10, 2022 THROUGH

 JULY 7, 2022 with the Clerk of Court using the CM/ECF system which will automatically send

 an e-mail notification of such filing to the parties or attorneys of record. I have also on this day

 caused a copy of the pleading to be placed in the first-class United States mail, postage prepaid,

 addressed to the following recipients not participating in the CM/ECF system as follows:


                            SEE ATTACHED CREDITOR MATRIX

 Dated: September 26, 2022

                                                              By: /s/Jason M. Torf
                                                              Jason M. Torf
                                                              Illinois Bar No. 6256778
                                                              (admitted pro hac vice)




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Label Matrix for local noticing        A Christian
                                          Document Wilson Page 12 of 36   ABB Installation Products Inc.
113E-1                                  Simpson, Uchitel & Wilson LLP           1811 Hymus Blvd
Case 22-52950-pmb                       PO Box 550105                           Dorval, QC H9P1JK5
Northern District of Georgia            Atlanta, GA 30355-2605
Atlanta
Fri Sep 23 11:08:39 EDT 2022
ABB Installation Products Inc.          ABRAMS GROUP CONSTRUCTION               AC ELECTRONICS
PO Box 28073                            3645 Hwy 90                             3401 AVENUE D
Chicago, IL 60673-0001                  Milton, FL 32571-1075                   ARLINGTON, TX 76011-7607



ACCO BRANDS - ONTARIO                   ACE CASH EXPRESS                        ADT Commercial
PO BOX 842166                           3804 Gunn Hwy                           PO Box 382109
BOSTON, MA 02284-2166                   Suite B                                 Pittsburgh, PA 15251-8109
                                        Tampa, FL 33618-8791


AFLAC                                   ALL METRO SUPPLY (#656.00)              ALLGOOD PLUMBING & ELECTRIC
ATTN: REMITTANCE PROCESSI               3755 HEWATT COURT                       5238 Royalwoods Parkway Suite 190
1932 WYNNTON ROAD                       SNELLVILLE, GA 30039-7022               Tucker, GA 30084-8619
COLUMBUS, GA 31999-0797


ALLIANCE SPORTS GROUP (NEBO)            AMAX LIGHTING 65600                     AMERICAN EXPRESS
DBA NEBO TOOLS                          10268 SANTA FE SPRINGS RD               PO BOX 650448
P O BOX 203246                          SANTA FE SPGS, CA 90670-3339            DALLAS, TX 75265-0448
DALLAS, TX 75320-3246


AMERICAN LIGHTING SUPPLY                AMERICAN TACK AND HARDWARE              AMERICASMART
ATTN: ACCOUNTS PAYABLE                  P. O. BOX 85077 (65600)                 475 S. Grand Central Parkway
P.O. BOX 1761                           CHICAGO, IL 60680-0851                  Suite 1615
LILBURN, GA 30048-1761                                                          Las Vegas, NV 89106-4552


ANDREA MCKEEVER                         ANDRUS ELECTRICAL SOLUTIONS             ANTHONY
4370 GUNNIN RD                          10750 PLANTATION DRIVE                  2388 COLLECTIONS CENTER DR
Norcross, GA 30092-1415                 JOHNS CREEK, GA 30022-5653              ACCT # 102260
                                                                                CHICAGO, IL 60693-0001


ASTORIA FOOT CARE GROUP                 AT&T *1882 (79020)                      AT&T CAROL STREAM *835
31-17 DITMARS BLVD SUITE 1              PO BOX 105262                           PO BOX 5019
ASTORIA, NY 11105-2300                  ATLANTA, GA 30348-5262                  CAROL STREAM, IL 60197-5019



ATG ELECTRONICS                         ATLANTA BOTANICAL GARDENS               ATLANTA RONALD MCDONALD HOUSE
10700 7TH STREET                        ATTN: ACCOUNTS PAYABLE                  ATTN: ACCOUNTS PAYABLE
RCH CUCAMONGA, CA 91730-5404            1345 PIEDMONT AVE NE                    795 GATEWOOD ROAD
                                        ATLANTA, GA 30309-3366                  ATLANTA, GA 30329-4200


ATLAS LIGHTING PROD (#65600)            ATR LIGHTING                            AXIS LED GROUP, LLC
P.O. BOX 740471                         PO BOX 67                               L-3790
ATLANTA, GA 30374-0471                  RICHLAND, MO 65556-0067                 COLUMBUS, OH 43260-3790
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Acuity Brands Lighting                              Allison Meehan
                                                       Document    Page 13 of 36       American Express National Bank, AENB
PO Box 100863                                        8723 stony field way                           c/o Zwicker and Associates, P.C.
Atlanta, GA 30384-0863                               louisville, KY 40299-1597                      Attorneys/Agents for Creditor
                                                                                                    P.O. Box 9043
                                                                                                    Andover, MA 01810-0943

American Express Travel Related Services Co.         American Ultraviolet                           Angela Little Hamilton
c/o Zwicker and Associates, P.C.                     212 S. Mt. Zion Road                           Parnell & Parnell
Attorneys/Agents for Creditor                        Lebanon, IN 46052-9479                         1200 Hwy 74 S., Ste 6-172
P.O. Box 9043                                                                                       Peachtree City, GA 30269-3073
Andover, MA 01810-0943

Anthony L. Marchetti, Jr.                            Ashley Van Gelder                              Atlanta Light Bulbs, Inc.
317 Delsea Drive                                     3307 Stone Heather Ct.                         2109 Mountain Industrial Blvd
PO Box 656                                           Herndon, VA 20171-4021                         Tucker, GA 30084-5013
Sewell, NJ 08080-0656


B B Storage LLC                                      B&H ELECTRIC AND SUPPLY                        BATAVIA PUBLIC SCHOOLS
1811 W Jackson St                                    1330 HWY 41 BYPASS                             804 MAIN STREET
Knoxville, IA 50138-1020                             GRIFFIN, GA 30224-3940                         BATAVIA, IL 60510-2437



BECKER ADVENTIST SCHOOL                              BLC America (formerly Green Energy Lighting    BLUEGRASS IRRIGATION & LIGHTING INC
ATTN: ACCOUNTS PAYABLE                               16310 ARTHUR ST.                               4855 Hills and Dales Rd NW
3567 COVINGTON HIGHWAY                               CERRITOS, CA 90703-2129                        CANTON, OH 44708-1403
DECATUR, GA 30032-1847


BOSTON UNIVERSITY                                    BREIT INDUSTRIAL HOLDINGS LLC (STREAM REALTY   BREIT Stone Mountain Owner LLC
ATTN: ACCOUNTS PAYABLE                               P.O. BOX 1232                                  PO Box 208046
25 BUICK STREET                                      Hicksville, NY 11802-1232                      Dallas, TX 75320-8046
BOSTON, MA 02215-1301


BRIARLAKE BAPTIST CHURCH                             BUFORD HWY. FARMERS MKT                        BULBRITE INDUSTRIES
ATTN: ACCOUNTS PAYABLE                               ATTN. ACCOUNTS PAYABLE                         P.O. BOX 419890
3715 LAVISTA RD                                      P. O. BOX 620533                               BOSTON, MA 02241-9890
DECATUR, GA 30033-1099                               ATLANTA, GA 30362-2533


BULBTRONICS (#65600)                                 Barron Lighting Group (EXITRONIX)              Barton’s Home Upgrading
45 BANFI PLAZA N.                                    PO BOX 8271                                    121 Penny Lane
FARMINGDALE, NY 11735-1539                           PASADENA, CA 91109-8271                        MCDONOUGH, GA 30253-7470



Ben Hartshorn                                        Benz Research and Development                  Boise Diamond Tables
490 JARVIS DR                                        6447 Parkland Drive                            3949 Adams Street
MORGAN HILL, CA 95037-2809                           Sarasota, FL 34243-4035                        Garden City, ID 83714-6451



Bomar Pneumatics                                     Bradley Harken                                 Bryan Kaplan
5785 West 74th Street                                2808 South Radio Lane                          6065 Roswell Road, Suite 540
Indianapolis, IN 46278-1755                          Spokane, WA 99223-1406                         Atlanta, GA 30328
                                                                                                    atlanta 30328-4038
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Bryan S Kaplan                         C.N.ROBINSON
                                          Document  LIGHTING SUPPLY
                                                             Page 14 of 36 CADMET, INC.
Kaplan Legal Services                  ATTN. ACCOUNTS PAYABLE                 P.O. BOX 24
6065 Roswell Rd, Ste 540               4318 WASHINGTON BLVD.                  MALVERN, PA 19355-0024
Atlanta, GA 30328-4038                 BALTIMORE, MD 21227-4536


CANDELA CORPORATION                    CAPITAL CITY ELECTRICAL SRV            CAPITAL ELECTRIC COMPANY
FILE #1033                             1346 Oakbrook Dr                       PO BOX 945650
1801 WEST OLYMPIC BLVD                 Suite 170A                             Maitland, FL 32794-5650
PASADENA, CA 91199-1033                Norcross, GA 30093-2229


CAPP, INC.                             CBC LIGHTING                           CBC Lighting Inc.
PO Box 127                             3025 A BATES RD                        6065 ROSWELL ROAD SUITE 540
Clifton Heights, PA 19018-0127         MONTREAL, QC H3S 2W8                   ATLANTA GA 30328-4038



CBC Lighting Inc.                      CHRIST OUR HOPE                        CINTAS CORPORATION -MASTER
Kaplan Legal Services, LLC             CATHOLIC CHURCH                        6800 CINTAS BLVD CINCINNATI
6065 Roswell Road, Suite 540           1786 WELLBORN ROAD                     CINCINNATI, OH 45262
Atlanta, GA 30328                      LITHONIA, GA 30058-5462
atlanta, GA 30328-4038

CITY ELECTRIC SUPPLY(C.E.S.)           CITY LIGHTS (65600)                    COMCAST
PO Box 131811                          PO BOX 6586                            PO BOX 530098
Charleston Division                    PHOENIX, AZ 85005-6586                 ATLANTA, GA 30353-0098
Dallas, TX 75313-1811


COMMERCIAL AND CUSTOM CABINET          COMMERCIAL LIGHTING COMPANY            CORPUS CHRISTI CATHOLIC CHURCH
2111 KILMAN DRIVE                      8201 NORTH HIMES AVE                   ATTN: SALLY YADAV
TUCKER, GA 30084-6246                  TAMPA, FL 33614-2772                   600 MOUNTAIN VIEW DRIVE
                                                                              STONE MOUNTAIN, GA 30083-3598


CREE LIGHTING                          Cadmet, Inc.                           Candela Corporation
75 REMITTANCE DRIVE                    c/o David I. Grunfield, Esquire        5600 Argosy Ave, Suite 300
SUITE 6403                             200 South Broad Street, Suite 600      Huntington Beach, CA 92649-1011
CHICAGO, IL 60675-6403                 Philadelphia, PA 19102-3813


Capital One Spark                      (p)JPMORGAN CHASE BANK N A             Chinook Engineering
PO Box 71083                           BANKRUPTCY MAIL INTAKE TEAM            860 S Windrose Drive
Charlotte, NC 28272-1083               700 KANSAS LANE FLOOR 01               Coupeville, WA 98239-3539
                                       MONROE LA 71203-4774


(p)SHAWN M CHRISTIANSON                Christopher Cooper                     Chubb
ATTN BUCHALTER PC                      6956 Whitewater Ln                     PO Box 382001
ATTN SHAWN M CHRISTIANSON              Lincoln, NE 68521-8997                 Pittsburgh, PA 15250-8001
425 MARKET ST SUITE 2900
SAN FRANCISCO CA 94105-2491

City Lights, Inc.                      City of Dekalb Streets Dept.           City of West Palm Beach
P.O. Box 6586                          1316 Market St                         1045 charlotte ave
Phoenix, AZ                            Dekalb, IL 60115-3533                  west palm beach, FL 33401-6203
85005
Phoenix, AZ 85005-6586
              Case 22-52950-pmb   Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46         Desc Main
Cityplex                               Comcast (VOIP)
                                          Document    Page 15 of 36       CommerceHub
7777 South Lewis Avenue                PO Box 37601                         25736 Network Place
Tulsa, OK 74171-0003                   Philadelphia, PA 19101-0601          Chicago, IL 60673-1257



Connie Chen                            Connie Liles Auto Parts              Cooper Lighting (Eaton)
4011 Crest Ct                          1127 W.Orange Ave                    28362 Network Place
Pleasanton, CA 94588-4406              Tallahassee, FL 32310-6126           Chicago, IL 60673-1283



Creditsafe USA Inc                     Current Electric                     DAVID L. WOLOSHIN
PO BOX 789985                          305 Wells St                         ASTOR WEISS KAPLAN & MANDEL LLP
PHILADELPHIA, PA 19178-9985            Greenfield, MA 01301-1639            200 SOUTH BROAD ST, SUITE 600
                                                                            PHILADELPHIA, PA 19102-3813


DE ANDRADE MANGIERI LLC                DECATUR DIGGS                        DECATUR PRESBYTERIAN CHURCH
ATTN JEFFERY M MANGIEI ESQ             141 GRAPE ST NE                      ATTN ACCTS PAYABLE
2 RAVINIA DR STE 1530                  ATLANTA, GA 30312-1667               205 SYCAMORE ST
ATLANTA, GA 30346-2169                                                      DECATUR, GA 30030-3476


DEKALB COUNTY (SAN)                    DEKALB COUNTY (WTR)                  DEKALB COUNTY TAX COMMISSIONER
P.O. BOX 105942                        P.O. BOX 71224                       P. O. BOX 100004
DECATUR, GA 30348-5942                 Charlotte, NC 28272-1224             DECATUR, GA 30031-7004



DIAMOND RESTAURANT SERVICE, INC        DIVERSE MARKETING                    DIVINE MORTUARY SERVICES
849 EDMONDSON RD                       2050 N. Stemmons Frwy.               5620 HILLANDALE DR
MONROE, GA 30656-4899                  Suite 439 & 421                      LITHONIA, GA 30058-4861
                                       Dallas, TX 75207, TX 75207-3214


Daniel Gray                            Daniel J. Devlin                     Dave Gomoll
867 Valley Street                      VAN DER VEEN, HARTSHORN & LEVIN      3323 Dekalb Ln
Dayton, OH 45404-2065                  1219 Spruce Street                   Neenah, WI 54956-9032
                                       Philadelphia, PA 19107-5607


David Amheiser                         David Paratore                       Dennis Jewell
3782 Wenkel Ford                       8601 Bell Mountain Dr                14993 sw Scarlett dr
Leslie, MO 63056-1923                  Austin, TX 78730-2833                Tigard, OR 97224-1510



Dennis Miller                          Di-Coat Corporation                  District850
8260 Lakeland Dr.                      42900 W. 9 Mile Rd.                  2662 Fleischmann Road
Granite Bay, CA 95746-6934             Novi, MI 48375-4123                  Tallahassee, FL 32308-5993



Drew Bowen Electric                    Thomas Dworschak                     ECKARDT ELECTRIC
5231 Copelan Rd                        Office of the U. S. Trustee          ATTN. ACCOUNTS PAYABLE
Watkinsville, GA 30677-4321            Room 362                             3690 NORTH PEACHTREE ROAD
                                       75 Ted Turner Drive, SW              ATLANTA, GA 30341-2337
                                       Atlanta, GA 30303-3330
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EDWIN GAYNOR CORPORATION                      EIKODocument
                                                   LTD.     Page 16 of 36        ELECTRIC SUPPLY & EQUIPMENT
200 CHARLES STREET                            8596 SOLUTION CENTER                   ATTN: ACCOUNTS PAYABLE
STRATFORD, CT 06615-6707                      CHICAGO, IL 60677-8005                 P.O. BOX 20308
                                                                                     GREENSBORO, NC 27420-0308


ELONG INTERNATIONAL USA.                      EMORY UNIVERSITY/PHARMACOLOGY          ENCAPSULITE INTERNAT. (#65600)
1200 W. CROSBY ROAD                           PO Box 3807                            P. O. BOX 1086
CARROLLTON, TX 75006-6906                     Scranton, PA 18505-0807                ROSENBERG, TX 77471-1086



ENERGETIC LIGHTING,INC                        ESL Vision, LLC                        EYE LIGHTING
13445 12TH STREET                             1136 South 3600 West                   9150 Hendricks Road
CHINO, CA 91710-5206                          Suite 400                              Mentor, OH 44060-2146
                                              Salt Lake City, UT 84104-6527


Edward Blank                                  Edward J. Lyons                        Eileen Guptill
PO Box 180446                                 847 Dewitt Road                        1387 NYE ST
Boston, MA 02118-0005                         Webster, NY 14580-1471                 CHARLESTON, SC 29407-5121



Elaine Cox                                    Elite Aviation c/o Donna Tipton        Energetic Lighting, Inc., a division of Yank
3907 - 103RD STREET CT                        18600 EDISON AVE                       540 North Golden Circle Drive
GIG HARBOR, WA 98332-8814                     CHESTERFIELD, MO 63005-3644            Suite 203
                                                                                     Santa Ana, CA 92705-3914


Entertainment Technology Inc                  Eric Macbeth                           FANLIGHT CORPORATION
155 Atlanta Hwy                               503 E Maple St                         2000 S. GROVE AVE, BLDG B
Loganville, GA 30052                          River Falls, WI 54022-2516             ONTARIO, CA 91761-4846



FEDERAL EXPRESS                               FEDEX FREIGHT EAST                     FEELUX
P.O. BOX 660481                               DEPT CH                                3000 NORTHWOODS PKWY
DALLAS, TX 75266-0481                         PO BOX 10306                           SUITE 165
                                              PALATINE, IL 60055-0306                NORCROSS, GA 30071-1545


FIRST SOUTHERN MANAGEMENT LLC                 FLORIDA DEPARTMENT OF CORRECTIONS      FULHAM COMPANY
1842 INDEPENDENCE SQUARE STE C                P.O. BOX 13600                         P.O. BOX 845686
ATLANTA, GA 30338-5168                        TALLAHASSEE, FL 32317-3600             Los Angeles, CA 90084-5686



FUSECO INC (75600)                            Fairfield Inn and Suites               Fanlight Corporation, Inc.
1865 Corporate Dr., Ste 210                   1355 Mall of Georgia Blvd.             c/o Simpson, Uchitel & Wilson, LLP
Norcross, GA 30093-2927                       Buford, GA 30519-6548                  P.O. Box 550105
                                                                                     Atlanta, GA 30355-2605


FedEx Corporate Services Inc                  Fiona Lin                              Flo-control
3965 Airways Blvd, Module G, 3rd Floor        75 BRIAR HILL RD                       80 Center Rd SE
Memphis, TN 38116-5017                        NORWICH, CT 06360-6440                 Cartersville, GA 30121-2956
              Case 22-52950-pmb                Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46 Desc Main
Ford Credit                                         (p)FORD MOTOR CREDIT COMPANY
                                                       Document           Page 17 of 36 Kathleen G. Furr
PO Box 650574                                       P O BOX 62180                      Baker Donelson
Dallas, TX 75265-0574                               COLORADO SPRINGS CO 80962-2180     3414 Peachtree Road, NE
                                                                                       Suite 1500, Monarch Plaza
                                                                                       Atlanta, GA 30326-1153

Fusco’s The Spot                                    GA CENTRAL ELECTRICAL              GEORGIA DEPT OF REV (S&U Tax)
4432 E Bristol Rd                                   100 Commerce Drive                 SALES AND USE TAX DIVISION
Feasterville Trevose, PA 19053-4758                 P.O. Box 723                       P. O. BOX 105296
                                                    Tyrone, GA 30290-0723              Atlanta, GA 30348-5296


GEORGIA DUPLICATING PRODUCTS, INC. (Xerox)          GEORGIA POWER COMPANY (#79530)     GLOBAL INDUSTRIAL COMPANY
P O BOX 3547                                        96 ANNEX                           29833 Network Place
MACON, GA 31205-3547                                ATLANTA, GA 30396-0001             Chicago, IL 60673-1298



GREATER ATLANTA CHRISTIAN SCHOOL                    GREEK ORTHODOX CATHEDRAL           GREEN CREATIVE
1575 INDIAN TRAIL RD                                2500 CLAIRMONT ROAD                PO Box 930495
NORCROSS, GA 30093-2614                             ATTN: Victor Rodi - 678-478-8548   Atlanta, GA 31193-0495
                                                    ATLANTA, GA 30329-2709


GREEN GLOW DOCK LIGHT                               Gatewood Schools                   (p)GEORGIA DEPARTMENT OF REVENUE
4604 49th St. North                                 139 Phillips Dr.                   COMPLIANCE DIVISION
Suite 122                                           Eatonton, GA 31024-1380            ARCS BANKRUPTCY
Saint Petersburg, FL 33709-3842                                                        1800 CENTURY BLVD NE SUITE 9100
                                                                                       ATLANTA GA 30345-3202

Greg Mosely                                         Gregory Taylor                     HALCO LIGHTING Technologies LLC
5257 Highway 280 East                               2000 Strathallan Woods Place       PO BOX 936822
Pembroke, GA 31321-6711                             Innisfil, ON L9S 4T7               ATLANTA, GA 31193-6822



HATCH TRANSFORMERS                                  HOLIDAY DIVISION (#65600)          HOLIDAY INN EXPRESS - CADILLAC
7821 WOODLANDS CENTER BLVD                          ACTION LIGHTING                    7642 SOUTH US. 131
TAMPA, FL 33614-2410                                310 ICE POND DR                    CADILLAC, MI 49601
                                                    BOZEMAN, MT 59715-5464


HONYA Lighting                                      HORMEL FOODS CORP                  HOWARD INDUSTRIES
Garden City NY 11530 United States                  PO BOX 900                         P. O. BOX 11407
Garden City, NY 11530                               AUSTIN, MN 55912-0963              BIRMINGHAM, AL 35246-1132



HUBBELL LIGHTING, INC.                              Halco Lighting Technologies, LLC   Harry Ruffino
DEPT CH 14175                                       2940 Pacific Drive                 5109 W. Lemon St.
PALATINE, IL 60055-0001                             Norcross, GA 30071-1808            Tampa, FL 33609-1105



Hatch Transformers, Inc., d/b/a Hatch Lighti        S. Gregory Hays                    Hays Financial Consulting LLC
c/o Simpson, Uchitel & Wilson, LLP                  Hays Financial Consulting, LLC     2964 Peachtree Road NW
P.O BOX 550105                                      Suite 555                          Suite 555
Atlanta, GA 30355-2605                              2964 Peachtree Road                Atlanta, GA 30305-4909
                                                    Atlanta, GA 30305-4909
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Hep Group USA                                    INDUSTRIAL
                                                    DocumentPKG CORP (75601)
                                                                       Page 18 of 36 INFINITE ENERGY CENTER
12245 Florence Avenue                            PO BOX 740438                        ATT: Jan Mitchell - 678-620-4151
Santa Fe Springs, CA 90670-3805                  ATLANTA, GA 30374-0438               6400 SUGARLOAF PARKWAY
                                                                                      DULUTH, GA 30097-7419


INTERLIGHT                                       INTERMATIC                           INTERSTATE ALL BATTERIES WH
7939 NEW JERSEY AVENUE                           P.O.BOX 71596                        PO BOX 1909
HAMMOND, IN 46323-3040                           CHICAGO, IL 60694-1596               SUWANEE, GA 30024-0974



IRON MOUNTAIN                                    ITV ASSOCIATES, INC.                 Ignite Industrial Consignment
P O BOX 915004                                   1845 SOUTH LEE COURT                 Attn: Jeff Heilman
DALLAS, TX 75391-5004                            BUFORD, GA 30518-8811                568 George Bishop Pkwy
                                                                                      Myrtle Beach, SC 29579-7339


Ilhom Islomov                                    Imaging Center                       Internal Revenue Service
1985 E 15TH ST APT D4                            22647 Ventura Blvd.                  Centralized Insolvency Operation
BROOKLYN, NY 11229-3343                          Ste. 661                             PO Box 7346
                                                 Woodland Hills, CA 91364-1416        Philadelphia, PA 19101-7346


Iron Mountain Information Management, LLC        J.D. INTERNATIONAL                   J.D. International Lighting, Inc.
One Federal Street                               P. O. BOX 668755                     C/O Hays Potter & Martin, LLP
Boston, MA 02110-2012                            POMPANO BEACH, FL 33066-8755         3945 Holcomb Bridge Road Suit 300
                                                                                      Peachtree Corners GA 30092-5200


JASON MARTON                                     JL LIGHTING, LLC                     JL Lighting
471 Copano Ridge Rd                              10475 Medlock Bridge Road            4505 Peachtree Industrial Blvd
Rockport, TX 78382-9635                          Suite 820                            STE D
                                                 Johns Creek GA 30097-4437            Berkeley Lake, GA 30092-4917


JPMorgan Chase Bank, N.A.                        JR Metzger                           Jack Eiseman
s/b/m/t Chase Bank USA, N.A.                     3101 Concord ROAD                    466 MILL COVE DR
c/o Robertson, Anschutz, Schneid,                Aston PA, PA 19014-2948              Dahlonega, GA 30533-6650
Crane & Partners, PLLC
6409 Congress Avenue, Suite 100
Boca Raton, FL 33487-2853
Brian J. Jackiw                                  Jackpot Junction Casino Hotel        James E. O’Brien
233 South Wacker                                 PO Box 420                           14 DAY ST
Suite 6950                                       Morton, MN 56270-0420                BLOOMFIELD, NJ 07003-4410
Chicago, IL 60606-6395


James Eifler                                     James M Sharp                        Jan Schwartz
2800 N Flagler D                                 53 ALPINE GEM LN                     0175N 450 East
West Palm Beach, FL 33407-5228                   TROUT CREEK, MT 59874-9410           Bluffton, IN 46714



Jennifer W Gordona DDS LLC                       Jermaine Williams                    Jessica Mendoza
105 East Ohio avenue                             2 Tibbits Ave                        c/o Aaron Clark, Gamble Clark LLP
Mount Vernon, OH 43050-3528                      White Plains, NY 10606-2313          869 Virginia Cir NE
                                                                                      Atlanta, GA 30306-3768
              Case 22-52950-pmb                Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46 Desc Main
Jiawei Technology (USA) Limited                     Joe Document
                                                        De leon   Page 19 of 36        James C. Joedecke Jr.
29470 Union City Blvd.                              1210 north Richmond Road                 Andersen, Tate & Carr, PC
Union City, CA 94587-1239                           Bay #5                                   One Sugarloaf Centre - Suite 4000
                                                    Wharton, TX 77488-3014                   1960 Satellite Blvd.
                                                                                             Duluth, GA 30097-4122

John Jimenez DDS                                    John Keating                             John T Carter
4831 SOQUEL DR                                      6122 36TH AVE NW                         PO BOX 772
SOQUEL, CA 95073-2428                               SEATTLE, WA 98107-2626                   Selma, AL 36702-0772



KC ELECTRONIC DISTRIBUTORS                          KENDALL ELECTRIC, INC (ALL 42)           KEYSTONE TECHNOLOGIES
186 NORTH BELLE MEAD ROAD                           5101 S. SPRINKLE ROAD                    PO BOX 69159
East Setauket, NY 11733-3455                        PORTAGE, MI 49002-2055                   Baltimore, MD 21264-9159



Keystone Technologies, LLC                          LADE ELECTRICAL SUPPLY(#65600)           LEDVANCE LLC *429484*
3530 Smoke Rise                                     US ELECTRICAL SERVICES, INC, ATTN: LBS   PO BOX 5163
Lawrenceville GA 30044-4805                         PO BOX 101569                            Carol Stream, IL 60197-5163
                                                    ATLANTA, GA 30392-1569


LIGHT EFFICIENT DESIGN                              LIGHTING ASSOCIATES                      LITETRONICS (#65600)
188 NORTHWEST HWY                                   3600 SWIFTWATER PARK DRIVE               6969 West 73rd Street
SUITE 301                                           SUWANEE, GA 30024-2188                   BEDFORD PARK, IL 60638-6025
CARY, IL 60013-2987


LOWE ELECTRIC SUPPLY COMPANY                        LUMIRAM (#65600)                         LUTRON ELECTRONICS (NO DROPSHIP)
ATTN: ACCOUNTS PAYABLE                              707 Executive Blvd. 1A                   P O BOX 643782
P O BOX 4767                                        Valley Cottage, NY 10989-2028            PITTSBURGH, PA 15264-3782
MACON, GA 31208-4767


Matthew W. Levin                                    Ronald A. Levine                         Lewis Milner
Scroggins & Williamson P.C.                         Levine & Block, LLC                      19711 Edgecliff Drive
One Riverside, Suite 450                            P.O. Box 422148                          Euclid, OH 44119-1017
4401 Northside Parkway                              Atlanta, GA 30342-9148
Atlanta, GA 30327-3065

Lighting Supply (formerly LIGHT BULB DISTRIB        M. Kyle Floyd                            MAINTENANCE SUPPLY
L-4058                                              Stenger & Stenger                        ATTN: ACCOUNTS PAYABLE
Columbus, OH 43260-4058                             2618 East Paris Ave, SE                  6910 Brasada Dr.
                                                    Grand Rapids, MI 49546-2458              Houston, TX 77085-1530


MAJOR SUPPLY INTERNATIONAL                          MAJOR SUPPLY INTERNATIONAL               MARKET GROUP VENTURES (#65600)
3562 Habersham at Northlake, Bld J                  5400 NW 35TH Terrace                     P.O. BOX 40
Suite 200                                           SUITE 104                                SHAWNIGAN LAKE, BC VOR 2WO
Tucker, GA 30084                                    Ft. Lauderdale, FL 33309-6321


MARTIN SPROCKET & GEAR, INC.                        MAXLITE/SK AMERICA                       METROPOWER INC
ATTN: ACCOUNTS PAYABLE                              PO BOX 844825                            ATTN: ACCOUNTS PAYABLE
P.O. BOX 886                                        BOSTON, MA 02284-4825                    PO BOX 5228
SCOTTDALE, GA 30079-0886                                                                     ALBANY, GA 31706-5228
              Case 22-52950-pmb      Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46 Desc Main
MICROLAMP                                 MID-GEORGIA
                                             Document INDUSTRIALPage
                                                                SALES,INC.
                                                                       20 of 36 MILLER OEM SUPPLIES (#65600)
2954 N. W. 60TH STREET                     P.O. BOX 6175                            3612 N. 16TH STREET
FT LAUDERDALE, FL 33309-1735               MACON, GA 31208-6175                     PHOENIX, AZ 85016-6422



MILWAUKEE LIGHT BULB                       MORRIS PRODUCTS INC                      MULTI LITE USA (#65600)
P.O. BOX 125                               53 CAREY ROAD                            172 W. Providencia, Unit 101
OAK CREEK, WI 53154-0125                   QUEENSBURY, NY 12804-7880                Burbank, CA 91502-2141



Mark Allen                                 Max Bodden                               Maxair Mechanical LLC
3640 Pallos Verdas Dr.                     106 Bowsprit Drive                       3435 Breckinridge Blvd
Dallas, TX 75229-2625                      North Palm Beach, FL 33408-5051          Ste 120
                                                                                    Duluth, GA 30096-7674


McGahren Law Firm, LLC                     Frank F. McGinn                          Scott B. McMahan
6171 Crooked Creek Road                    Hackett Feinberg P.C.                    Poole Huffman, LLC
Peachtree Corners, GA 30092-3105           9th Floor                                Building J, Suite 200
                                           155 Federal Street                       3562 Habersham at Northlake
                                           Boston, MA 02110-1610                    Tucker, GA 30084-4010

McNeely Electric, Inc.                     MedCura Medical Center                   Merchant Services
8201 Alcorn Circle                         5582 Memorial Dr.                        PO Box 6010
Austin, TX 78748-5415                      Lithonia, GA 30032                       Hagerstown, MD 21741-6010



Michael Fannin                             Michael T. Rafi                          Michel Moos
46 Gema                                    Rafi Law Firm LLC                        946 NORTH AVE NE
San Clemente, CA 92672-9494                1776 Peachtree St NW, Ste 423-South      ATLANTA, GA 30306-4456
                                           Atlanta, GA 30309-2302


Modern Forms                               Monty Benhaim                            Murphy Lomon & Associates
23550 Network Place                        10611 Garden Grove Ave                   2860 River Rd, Ste 2000
Chicago, IL 60673-1235                     Northridge, CA 91326-3211                Des Plaines, IL 60018-6007



NBT Bank                                   NICOR, INC                               NORCROSS ELECTRIC SUPPLY
120 North Keyser Ave                       2200 MIDTOWN PL NE                       4190 Capital View Dr
Scranton, PA 18504-9701                    STE A                                    Suwanee, GA 30024-3979
                                           ALBUQUERQUE, NM 87107-3217


NORMAN LAMPS                               NORTH DECATUR PRESBYTERIAN CHURCH        NORTHROP GRUMMAN
P.O. BOX 3550                              611 MEDLOCK RD                           1201 CONTINENTAL BLVD
ST CHARLES, IL 60174-9090                  DECATUR, GA 30033-5599                   CHARLOTTE, NC 28273-6320



NORTHWEST MUTUAL FINANCIAL NETWORK         NSI Industries                           NULIGHT CONSULTING
ATTN: AUBREY VAUGH                         9730 Northcross Center Ct                PO Box 3406
3438 PEACHTREE RD SUITE 1200               Huntersville, NC 28078-7301              Loganville, GA 30052-1976
ATLANTA, GA 30326-1555
              Case 22-52950-pmb         Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46        Desc Main
Naitram Gopaul                               NickDocument
                                                  Bohacz   Page 21 of 36        Noah Scher
407 Keys Ferry Rd                            27 JUNIPER DR                       559 Jacobs Place
McDonough, GA 30252-6161                     RICHBORO, PA 18954-1625             Carbondale, CO 81623-2198



Northwest Exterminating                      OFFICE DEPOT                        ON HOLD MEDIA GROUP
830 Kennesaw Ave                             PO BOX 88040                        3001 DALLAS PARKWAY
Marietta, GA 30060-1006                      CHICAGO, IL 60680-1040              SUITE 220
                                                                                 FRISCO, TX 75034-8672


OSRAM SYLVANIA INC                           OTTLITE TECHNOLOGIES                OXEM LLC
PO BOX 2114                                  1715 N. WESTSHORE BLVD              368 Chateauguay Dr
CAROL STREAM, IL 60132-2114                  TAMPA, FL 33607-3920                Ellenwood, GA 30294-2957



Ocean Glass Inn                              Old World Industries, LLC           Oracle America, Inc.
37299 Rehoboth Avenue                        P.O. BOX 204549                     Buchalter, a Professional Corporation
Rehoboth Beach, DE 19971-3238                DALLAS, TX 75320-4549               c/o Shawn M. Christianson, Esq.
                                                                                 425 Market St., Suite 2900
                                                                                 San Francisco, CA 94105-2491

Oracle America, Inc.                         Oracle America, Inc.                Orbit Industries, Inc.
Bank of America Lockbox Services             c/o Shawn M. Christianson, Esq.     2100 South Figueroa Street
15612 Collections Center Drive               Buchalter PC                        Los Angeles, CA 90007-2047
Chicago, IL 60693-0001                       425 Market St., Suite 2900
                                             San Francisco, CA 94105-2491

Orchid Cove at Palm Harbor                   Oxem, LLC                           PHILIPS (FIXTURES) Luminairies (Sesco)
2600 Highlands Blvd N                        2413 Eastwood Village Dr.           P.O. Box 100194
Palm Harbor, FL 34684-2114                   Stockbridge, GA 30281-7733          Atlanta, GA 30384-0194



PHILIPS EMERGENCY LIGHTING (#A000881)        PITNEY BOWES GLOBAL                 POINTS ELECTRICAL
P.O. BOX 100282                              PO BOX 371887                       5500 Oakbrook Pkwy ste 210
ATLANTA, GA 30384-0282                       PITTSBURGH, PA 15250-7887           NORCROSS, GA 30093-2788



POWERSELECT INC                              PPG AEROSPACE                       PQL (#656.00)
15602 COMMERCE LANE                          6022 Corporate Way                  2285 WARD AVENUE
HUNTINGTON BEACH, CA 92649-1604              Indianapolis, IN 46278-2923         SIMI VALLEY, CA 93065-1863



Peggy O’Halloran                             Philips (LAMPS) Lighting            Philips Lighting Electronics (ADVANCE)
6598 Springpath Lane                         P.O. Box 100194                     P.O. Box 100194
San Jose, CA 95120-4549                      Atlanta, GA 30384-0194              ATLANTA, GA 30384-0194



Photometric Design                           Leslie M. Pineyro                   Pitney Bowes Global Financial Services LLC
1066 CHARTLEY DR SW                          Jones and Walden, LLC               27 WATERVIEW DRIVE
LILBURN, GA 30047-5278                       699 Piedmont Avenue NE              SHELTON, CT 06484-4301
                                             Atlanta, GA 30308-1400
              Case 22-52950-pmb   Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46 Desc Main
Todd J Poole                           Jacqueline
                                          DocumentM. Price Page 22 of 36  Pro Source Industrial, LLC
3562 Habersham at Northlake            Hackett Feinberg P.C.                  DBA. Mechanical Services
Building J, Ste 200                    155 Federal Street, 9th Floor          3806 Calhoun Ave
Tucker, GA 30084-4010                  Boston, MA 02110-1610                  Chattanooga, TN 37407-2531


Quality Industries, Inc.               Quest Diagnostics.com                  QuikTrip Fleetmaster (QT)
1595 Ocean Ave                         1 Malcolm Ave.                         PO Box 4337
Unit B1                                Teterboro, NJ 07608-1070               Carol Stream, IL 60197-4337
Bohemia, NY 11716-1948


R&L Carriers                           R&L Carriers, Inc.                     REECE SUPPLY CO OF GA (#65600)
PO Box 10020                           600 Gillam Road                        5755 OAKBROOK PARKWAY
Port William, OH 45164-2000            Wilmington, OH 45177-9089              NORCROSS, GA 30093-1836



RELIANT REAL ESTATE MANAGEMENT         RF Smart (ICS, Inc)                    RIZE ENTERPRISES
15600 Old 41 Rd                        PO Box 638345                          PO BOX 1311
Naples, FL 34110-8420                  Cincinnati, OH 45263-8345              BRENTWOOD, NY 11717-0688



RKB Maintenance Solutions              ROBERT N JONES MD                      ROBERT TAITZ
350 Motor Parkway                      217 FAIRWAY DRIVE                      3860 Falls Landing Drive
Suite 412                              NEW ORLEANS, LA 70124-1018             Johns Creek, GA 30022-8097
Hauppauge, NY 11788-5125


RONALD CARPENTER                       RST VISIONS IN COLOR                   RUSSELL LACEY
6 COLLEGE HILL RD                      8655 Tamarack Ave                      P. O. BOX 575
CANAAN, CT 06018-2313                  Sun Valley, CA 91352-2505              BOAZ, AL 35957-0575



Rameshwar Deokaran                     Restaurant Technologies                Robert Beaulieu
555 E 90TH ST                          2250 Pilot Knob Road                   349 Black Brook Road
NEW YORK, NY 10128-7803                Ste 100                                Goffstown, NH 03045-2931
                                       Mendota Heights, MN 55120-1127


Robin Hopper                           Michael D. Robl                        Rolando Martinez
PO Box 670549                          Robl Law Group LLC                     4307 9th St.
Chugiak, AK 99567-0549                 Suite 250                              Rockford, IL 61109-3017
                                       3754 LaVista Road
                                       Tucker, GA 30084-5623

Ron Conti                              Ronald Thon                            SATCO PRODUCTS
905 Harvest Lane                       1010 May Lane                          900 N.W. 159TH DRIVE
Indiana, PA 15701-9738                 Yankton, SD 57078-6313                 MIAMI, FL 33169-5804



SCANA ENERGY                           SEBCO INDUSTRIES                       SENGLED
PO BOX 100157                          2621 S. Main Street                    155 Bluegrass Valley Pkwy
COLUMBIA, SC 29202-3157                SANTA ANA, CA 92707-3432               Suite 200
                                                                              Alpharetta, GA 30005-2222
              Case 22-52950-pmb            Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46 Desc Main
SILVERTON FIRST AID SQUAD                       SITLER’S SUPPLIES (#65600)
                                                   Document           Page 23 of 36 SOUTHERN EQUIPMENT SALES
86 MAINE STREET                                 111 WEST VIEW DRIVE                   ATTN: ACCOUNTS PAYABLE
Toms River, NJ 08753-1780                       WASHINGTON, IA 52353-2946             1896 FORGE STREET
                                                                                      TUCKER, GA 30084-6628


SOUTHLAND ELECTRIC, INC                         STANDARD ENTERPRISES                  STAPLES ADVANTAGE
ATT: SCOTT NELSON                               DBA WATT-MAN LED LIGHTING             DEPT ATL
2239 DILLARD STREET                             P.O. BOX 1345                         P O BOX 405386
TUCKER, GA 30084-4824                           DECATUR, GA 30031-1345                ATLANTA, GA 30384-5386


STEPHEN MULLADY                                 SUNSHINE LIGHTING                     SUPER H MART DISTRIBUTION
1100 CUMBERLAND RD                              744 CLINTON STREET                    2550 Pleasant Hill Rd
Chattanooga, TN 37419-1006                      BROOKLYN, NY 11231-2101               STE 300
                                                                                      Duluth, GA 30096-9250


SYNOVOS                                         Sajjadian Medical Corp.               Santosh Iyer
16888 STATE ROUTE 706                           496 Old Newport Blvd                  28 LEWISTON CIR
MONTROSE, PA 18801-6616                         Suite 3                               LANCASTER, PA 17601-4822
                                                Newport Beach, CA 92663-4264


Sarah Markowitz                                 Scott Long                            Semperlite
328 North Main St                               8321 SNOWDEN OAKS PL                  141 Cassia Way
Minoa, NY 13116-1214                            LAUREL, MD 20708-2315                 Suite A, Room 100
                                                                                      Henderson, NV 89014-6650


Henry F. Sewell Jr.                             Sharon A. Colado                      Signify North America Corporation
Law Offices of Henry F. Sewell, Jr., LLC        628 DAVID ST                          c/o Parnell & Parnell, P.A.
Suite 555                                       LAKE IN THE HILLS, IL 60156-5205      P.O. Box 2189
2964 Peachtree Road, NW                                                               Montgomery AL 36102-2189
Atlanta, GA 30305-4909

Small Business Administration                   Small Business Administration         Sound Services-RH Nolte
Disaster Assistance Processing Ctr              c/o CSC                               Po Box 18
14925 Kingsport Road                            801 Adlai Stevenson Drive             Bylas, AZ 85530-0018
Fort Worth, TX 76155-2243                       Springfield, IL 62703-4261


Sparkles Smyrna                                 Spot Lighting                         Staples Busienss Credit
666 Smyrna Hill Dr                              PO Box 20860                          PO Box 105638
Smyrna, GA 30082-2836                           Long Beach, CA 90801-3860             Altanta, GA 30348-5638



Stephen P. Fuler                                Steven weiher                         Sun Court Partners, L.P.
Fuller Sloan, LLC                               S76W13722 MCSHANE DR                  c/o Hartman Simons & Wood LLP
10475 Medlock Bridge Rd, Ste 820                MUSKEGO, WI 53150-3931                Attn: Todd H. Surden, Esq.
Johns Creek GA 30097-4437                                                             400 Interstate N Pkwy SE, #600
                                                                                      Atlanta, GA 30339-5001

Todd H. Surden                                  TADD LLC                              TADD LLC dba Light Efficient Design
Hartman Simons & Wood                           188 S Northwest Highway               188 S NORTHWEST HIGHWAY
400 Interstate North Parkway SE                 Cary, IL 60013-2998                   CARY, IL 60013-2987
Suite 600
Atlanta, GA 30339-5001
              Case 22-52950-pmb     Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46 Desc Main
TBF Computing                            TECHNICAL CONSUMER PRODUCTS
                                            Document           Page 24 of 36 TECHNO USA LLC
1090 Cobb Industrial Dr                  3691 SOLUTIONS CENTER                  1580 Boggs Road
Marietta, GA 30066-6622                  CHICAGO, IL 60677-3006                 Suite 500
                                                                                Duluth, GA 30096-1288


THE HARTFORD (#75850)                    THHC LIGHTING                          TOPAZ LIGHTING (65600)
P.O. BOX 660916                          1411 North Batavia Street, Suite 212   PO Box 7247, Mail Code 7333
DALLAS, TX 75266-0916                    Orange, CA 92867-3526                  Philadelphia, PA 19170-0001



TOPSTAR INTERNATIONAL                    TOPSTAR INTERNATIONAL                  TRC Electroncis
13668 VALLEY BLVD                        291 Kettering Drive                    4171 Stony Lane
SUITE D-2                                Ontario, CA 91761-8132                 Doylestown, PA 18902-1160
CITY INDUSTRY, CA 91746-2572


Taniel m Cameron                         The Retirement Advantage               Todd McAreavey
9 York circle                            47 Park Place                          2605 Fieldstone Trl
Bluffton, SC 29909-3117                  Suite 850                              Ponca City, OK 74604-1612
                                         Appleton, WI 54914-8233


Tony Celli                               Jason M Torf                           Jason M. Torf
28 E. Spring st                          Tucker Ellis LLP                       Ice Miller LLP
cookeville, TN 38501                     Suite 6950                             200 W. Madison Street
                                         233 S. Wacker Dr.                      Suite 3500
                                         Chicago, IL 60606-9997                 Chicago, IL 60606-3417

Trent Weaver                             Tuyen Nguyen                           Tyler Dillard
2204 Chestnut Road                       23 Susan Drive                         1960 Satellite Blvd, Ste 4000
Birmingham, AL 35216-1510                Pelham, NH 03076-3571                  Duluth, GA 30097-4128



Tyler MacGeorge                          U.S. Small Business Administration     UNITED PARCEL SERVICE (#65702)
1031 Miller Dr.                          200 W. Santa Ana Blvd., Ste 740        P.O. BOX 7247-0244
Altamonte Springs, FL 32701-2067         Santa Ana, CA 92701-7534               PHILADELPHIA, PA 19170-0001



UNIVERSAL LIGHTING (MAGNETEK)            US BANK EQUIPMENT FINANCE              USHIO AMERICA
PO BOX 5510                              P O BOX 790448                         6045 SOLUTION CENTER
CAROL STREAM, IL 60197-5510              ST LOUIS, MO 63179-0448                CHICAGO, IL 60677-6000



United States Attorney                   United States Trustee                  Verizon Connect Fleet USA LLC
Northern District of Georgia             362 Richard Russell Federal Building   PO Box 15043
75 Ted Turner Drive SW, Suite 600        75 Ted Turner Drive, SW                Albany, NY 12212-5043
Atlanta GA 30303-3309                    Atlanta, GA 30303-3315


Versapay                                 Verum Analytics Industries             WAGES & SONS
548 Market Street, #43812                18916 Bonanza Way                      ATTN: HANK WAGES
San Francisco, CA 94104-5401             Gaithersburg, MD 20879-1512            P.O. BOX 605
                                                                                STONE MOUNTAIN, GA 30086-0605
              Case 22-52950-pmb              Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46 Desc Main
WESTINGHOUSE LIGHTING (ANGELO)                    WORLDWIDE SPECIALTY Page 25 of 36
                                                     Document                        WORLDWIDE SPECIALTY LAMP, LLC
P. O. BOX 780984                                     6759 OAK RIDGE COMMERCE WY                           6065 ROSWELL ROAD SUITE 540
Philadelphia, PA 19178-0984                          AUSTELL, GA 30168-5891                               ATLANTA GA 30328-4038



WageWorks, Inc. (take care)                          WellMax Center for Preventive Medicine               Western Securities
1100 Park Place, 4th floor                           45200 Club Dr                                        2626 Howell St.
San Mateo, CA 94403-1599                             Suite B                                              Suite 850
                                                     Indian Wells, CA 92210-8837                          Dallas, TX 75204-4064


Wildwood Services LLC                                J. Robert Williamson                                 Winfred Wiencke
2242 Otter Creeek Ln                                 Scroggins & Williamson, P.C.                         2133 Newport Place NW
Sarasota, FL 34240-8592                              One Riverside, Suite 450                             Washington, DC 20037-3002
                                                     4401 Northside Parkway
                                                     Atlanta, GA 30327-3065

Wiredup Electric Inc.                                Worldwide Specialty Lamp, LLC                        XTRA LITE LIGHTING
14723 Weeks Dr.                                      c/o Bryan Kaplan, Esq.                               6300 ST LOUIS STREET
La Mirada, CA 90638-1056                             6065 Roswell Road, Suite 540                         MERIDIAN, MS 39307-9560
                                                     Atlanta, GA 30328
                                                     Atlanta, GA 30328-4038

Kristen A. Yadlosky                                  ZLED Lighting                                        chirag patel
Hartman Simons & Wood                                1536 Kings Highway North                             628 U.S. 250
400 Interstate North Parkway SE                      Cherry Hill, NJ 08034-2313                           Norwalk, OH 44857-9214
Suite 600
Atlanta, GA 30339-5001

john crosby                                          ricky mcintyre                                       scott palmi
534 white pelican                                    310 South Lake Avenue                                106 Cemetery Road
vero beach, FL 32963-9561                            Ridgeland, MS 39157-7003                             Putney, VT 05346-8740



shaun kennedy                                        van der Veen, Hartshorn & Levin                      vonee pawlowski
2070 kalakaua ave                                    1219 Spruce St.                                      PO Box 872
Honolulu, HI 96815-2048                              Philadelphia, PA 19107-5607                          Hiawassee, GA 30546-0872




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                  Shawn M. Christianson                                Ford Motor Credit Company LLC
P.O. BOX 1423                                        Buchalter PC                                         PO Box 62180
Charlotte, NC 28201-1423                             Suite 2900                                           Colorado Springs, CO 80962-2180
                                                     425 Market St.
                                                     San Francisco, CA 94105

(d)Ford Motor Credit Company, LLC                    Georgia Department of Revenue
Drawer 55-953                                        Bankruptcy Section
P.O. Box 55000                                       1800 Century Blvd NE Ste 9100
Detroit, MI 48255-0953                               Atlanta, GA 30345
              Case 22-52950-pmb                 Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46                           Desc Main
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)American Ultraviolet Company                      (u)BREIT Stone Mountain Owner, LLC                   (d)Bluegrass Irrigation & Lighting
212 S Mt Zion Rd                                                                                          4855 Hills & Dales Road NW
Lebanon, IN 46052-9479                                                                                    Canton, OH 44708-1403



(u)Ford Motor Credit Company, LLC A Delaware         (d)Hays Financial Consulting LLC                     (u)Major Supply, Inc.
                                                     2964 Peachtree Road NW, Suite 555
                                                     Atlanta, GA 30305-4909



(d)Norcross Electric Supply Company                  (u)PRINCIPAL HANDY SOLUTIONS                         (u)Jesse Root
4190 Capital View Drive
Suwanee, GA 30024-3979



(u)Sun Court Partners, LP                            (u)TRUE VISION SYSTEMS                               (u)Tandem Bank




(u)The Official Committee of Unsecured Credit        (u)Z&R LIGHTING                                      End of Label Matrix
                                                                                                          Mailable recipients     410
                                                                                                          Bypassed recipients      14
                                                                                                          Total                   424
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                    Exhibit
                      A
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                                     950 Main Avenue, Suite 1100 | Cleveland, OH 44113-7213 | TEL 216.592.5000 | FAX 216.592.5009




 Atlanta Light Bulbs, Inc.                                                                                   018502-000001
 Attn: Chris Chickanosky, Chairman                                                                          Invoice # 869975
 c/o Chris Chickanosky, Chairman                                                                          September 21, 2022
 2940 Pacific Dr.
 Norcross, GA 30071




 Matter Description: Case Administration                                           For Services Through 08-31-2022




 IRS No.                                                                                       TELEPHONE: 216.592.5000

 PLEASE REMIT TO:                                                                   DIRECT ALL OTHER CORRESPONDENCE TO:
 TUCKER ELLIS LLP                                                                                    950 MAIN AVENUE
 P.O. BOX 74717                                                                                            SUITE 1100
 CLEVELAND, OH 44194-4717                                                                    CLEVELAND, OH 44113-7213


                                     NET DUE UPON RECEIPT




                                                     Fees for legal services .............................. $       51,618.00


                                                     Total disbursements ................................. $         1,273.39

                                                     Total Fees and Disbursements                          $       52,891.39




 Wire/ACH Payment Instructions:                      Please detach this page and return with your payment.
 KeyBank
 ABA:
 Account:
 SWIFT:
Case 22-52950-pmb          Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46                       Desc Main
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                                                                                             Invoice #869975
                                                                                          September 21, 2022
                                                                                                   Page 1 of 5



 Atlanta Light Bulbs, Inc.
 Attn: Chris Chickanosky, Chairman
 c/o Chris Chickanosky, Chairman
 2940 Pacific Dr.
 Norcross, GA 30071




 Our File # 018502-000001                                                 For Services Through 08-31-2022
 Case Administration



 06/09/22    Analyze and review case law concerning the applicable standards for appointment of a Chapter
             11 Trustee in N.D. GA. Prepare internal memorandum discussing the applicable standards for
             appointment of a Chapter 11 Trustee in N.D. GA.
 Associate   Connor Doughty                                    2.10 hrs

 06/10/22    Draft bylaws regarding committee administration (1.4). Review multiple e-mails from Jason Torf
             (1.0) regarding status of case and strategy moving forward; Review multiple e-mails from Katy
             Fury regarding upcoming motion to dismiss hearing and strategy moving forward (0.4); Review
             e-mail from Mike Robl regarding investigation into ALB and its current CEO (0.3).
 Counsel     Brian J. Jackiw                                     3.10 hrs

 06/10/22    Prepare for and attend call with creditors' committee (1.8); work on draft objection to Tandem
             Bank's motion to dismiss case (7.1); Work on draft objection to Tandem Bank's motion to modify
             stay (2.1).
 Partner     Jason M. Torf                                     11.00 hrs

 06/11/22    Draft e-mail to committee regarding retention and bylaws (0.2); conference with Jason Torf
             regarding case strategy (0.4); review e-mails from Jason Torf regarding same (0.3); review e-
             mail from Katy Fury regarding same (0.2).
 Counsel     Brian J. Jackiw                                     1.10 hrs

 06/11/22    Work on draft objection to Tandem Bank's motion to dismiss case (2.6); Work on draft objection
             to Tandem Bank's motion to modify stay (1.8); Prepare for Monday's hearing on all motions,
             including witness examination (7.6).
 Partner     Jason M. Torf                                    12.00 hrs

 06/12/22    Review opposition to Motion to Dismiss and motion for Chapter 11 Trustee (1.3); review e-mails
             from Katy Fury regarding objection to motion to dismiss and chapter 11 trustee motion (0.6);
             review e-mails from Jason Torf regarding same and evidence for motion to dismiss hearing and
             chapter 11 trustee motion (0.8).
 Counsel     Brian J. Jackiw                                    2.70 hrs

 06/12/22    Work on draft objection to Tandem Bank's motion to dismiss case (3.8); Work on draft objection
             to Tandem Bank's motion to modify stay (2.8); Prepare for Monday's hearing on all motions,
             including witness examination (3.4); Travel to Atlanta for hearing (4.5).
 Partner     Jason M. Torf                                     14.50 hrs
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 06/13/22   Conference call with the UST regarding upcoming hearing and case in general (1.0); conference
            call with potential Financial Advisor/Chapter 11 Trustee candidate regarding case in general and
            issues in dealing with non-responsive debtor (1.0); e-mails to Katy Fury (0.4) regarding case in
            general and retention documents; multiple e-mails with Jason Torf regarding case strategy and
            retention applications (0.7); review e-mail from Jason Torf regarding hearing on motion to
            dismiss, conversion, and/or appointment of chapter 11 trustee (0.3); conference with potential
            FA or chapter 11 trustee regarding case status (0.5). Review e-mail from Committee member
            regarding signed by-laws (0.1).
 Counsel    Brian J. Jackiw                                     4.00 hrs

 06/13/22   Call with T. Dworschak (US Trustee's office) re: case background and committee position on
            Tandem Bank's motion to convert or dismiss (1.0); Continued preparation for hearing (2.3);
            Appear at hearing (6.0); Return travel from Atlanta to Chicago (7.2).
 Partner    Jason M. Torf                                      16.50 hrs

 06/14/22   Review order on appointment of chapter 11 trustee (0.2); review various e-mails related to case
            from: possible chapter 11 trustee (0.2); Katy Furr regarding appointment of chapter 11 trustee
            (0.3); Jason Torf regarding chapter 11 trustee (0.3).
 Counsel    Brian J. Jackiw                                      1.00 hrs

 06/15/22   Review e-mail regarding information on case strategy (0.2); conference with Jason Torf
            regarding same (0.5).
 Counsel    Brian J. Jackiw                                   0.50 hrs

 06/16/22   Conference call with Jason Torf regarding ALB status and strategy (1.0); review article on ALB
            (0.3).
 Counsel    Brian J. Jackiw                                    1.30 hrs

 06/22/22   Review e-mails from Jason Torf (x2) regarding various issues in ALB case (.2).
 Counsel    Brian J. Jackiw                                   0.20 hrs

 06/23/22   Conference with Jason Torf regarding ALB status and 341 meeting (0.7).
 Counsel    Brian J. Jackiw                                   0.70 hrs

 06/24/22   Conference call with Jason Torf regarding ALB future (0.5); review e-mails from Mike Rob (0.2);
            and Mike Robl (0.2); regarding same.
 Counsel    Brian J. Jackiw                                    0.90 hrs

 06/27/22   Conference with working group on ALB strategy (1.0).
 Counsel    Brian J. Jackiw                                  1.00 hrs

 06/29/22   conference with Jason Torf regarding Trustee motion to abandon certain rolling stock (0.2).
 Counsel    Brian J. Jackiw                                   0.20 hrs

 06/30/22   Review e-mail for status on case (0.3); conference with Jason Torf regarding case strategy (0.2).
 Counsel    Brian J. Jackiw                                     0.50 hrs

 07/05/22   Attend committee meeting regarding conversion motion, status, and strategy (0.9). Conference
            with Jason Torf regarding chapter 7 trustee election and conversion motion (0.3); review trustee
            election proxy documents (0.2).
 Counsel    Brian J. Jackiw                                     1.40 hrs
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 07/05/22   Attend (by Zoom) creditors' committee meeting (1.0); Follow up with B. Jackiw re: case strategy
            (.4); Follow up with K. Furr re: same (.4); Prepare for hearing on Chapter 11 Trustee's Motion to
            Convert Case to Chapter 7 (2.3).
 Partner    Jason M. Torf                                         4.10 hrs

 07/06/22   Prepare for hearing on Chapter 11 Trustee's Motion to Convert Case to Chapter 7 (2.0); Appear
            (by Zoom) at hearing on Chapter 11 Trustee's Motion to Convert Case to Chapter 7 (3.5); Review
            and comment on proposed order converting case (.2).
 Partner    Jason M. Torf                                     5.70 hrs

 07/07/22   Evaluate and analyze strategy for possible trustee election (.8); Call with C. Chickanosky re: same
            (.4); Calls with J. Gansman, Rock Creek Advisors, re: same and their interest in acting as trustee if
            elected (.6); Call with T. Dworshak, U.S. Trustee's office, re: timing for chapter 7 341 meeting and
            possibility that creditors will seek an election (.3); Review rules re: trustee elections (.5).
 Partner    Jason M. Torf                                           2.60 hrs

 07/08/22   Attend (by Zoom) creditors' committee meeting (1.0); Call with J. Baas (committee member -
            Candela) re: update because he could not attend committee meeting (.4); Follow up with B.
            Jackiw re: case strategy (.3); Follow up with K. Furr re: same (.3); Research re: trustee election
            requirements (.6).
 Partner    Jason M. Torf                                        2.60 hrs


                                                    Fees for legal services .............................. $       51,618.00




                                             BILLING SUMMARY

                                                       HOURS               RATE/HR                DOLLARS
              Jason M. Torf                             69.00                610.00               42,090.00
              Brian J. Jackiw                           18.60                475.00                8,835.00
              Connor Doughty                             2.10                330.00                  693.00
              Total Fees                                89.70                                    51,618.00



                                                    Fees for legal services .............................. $       51,618.00
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                                          DISBURSEMENTS

 06-29-2022   Third Party Cost RoundTrip Airfare - Jason M. Torf 6/12/22-6/13/22 travel            608.50
              to/from Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Lodging - Jason M. Torf 6/12/22-6/13/22 travel to/from              329.81
              Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Car Rental - Jason M. Torf 6/12/22-6/13/22 travel                    84.24
              to/from Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Tips - Jason M. Torf 6/12/22-6/13/22 travel to/from                   4.00
              Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Tips - Jason M. Torf 6/12/22-6/13/22 travel to/from                   6.00
              Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Toll - Jason M. Torf 6/12/22-6/13/22 travel to/from                   6.00
              Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Toll - Jason M. Torf 6/12/22-6/13/22 travel to/from                   6.00
              Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Mileage - Jason M. Torf 6/12/22-6/13/22 travel to/from                8.78
              Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Mileage - Jason M. Torf 6/12/22-6/13/22 travel to/from                8.78
              Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Breakfast - Jason M. Torf 6/12/22-6/13/22 travel to/from             11.77
              Atlanta - to appear at hearing Attendees: Jason M. Torf

 06-29-2022   Third Party Cost Lunch - Jason M. Torf 6/12/22-6/13/22 travel to/from                  3.88
              Atlanta -to appear at hearing Attendees: Jason M. Torf

 06-29-2022   Third Party Cost Dinner - Jason M. Torf 6/12/22-6/13/22 travel to/from                12.06
              Atlanta - to appear at hearing Attendees: Jason M. Torf

 06-29-2022   Third Party Cost Dinner - Jason M. Torf 6/12/22-6/13/22 travel to/from                38.06
              Atlanta -to appear at hearing Attendees: Jason M. Torf

 06-29-2022   Third Party Cost Lunch - Jason M. Torf 6/12/22-6/13/22 travel to/from                 36.51
              Atlanta - to appear at hearing Attendees: Jason M. Torf

 06-29-2022   Third Party Cost Parking - Jason M. Torf 6/12/22-6/13/22 travel to/from               84.00
              Atlanta - to appear at hearing

 06-29-2022   Third Party Cost Parking - Jason M. Torf 6/12/22-6/13/22 travel to/from               25.00
              Atlanta - to appear at hearing
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                                                                             Page 5 of 5

                                     Total Disbursements            $          1,273.39


                                     Total Fees and Disbursements   $         52,891.39
Case 22-52950-pmb         Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46                                       Desc Main
                                 Document    Page 34 of 36
                                     950 Main Avenue, Suite 1100 | Cleveland, OH 44113-7213 | TEL 216.592.5000 | FAX 216.592.5009




 Atlanta Light Bulbs, Inc.                                                                                   018502-000009
 Attn: Chris Chickanosky, Chairman                                                                          Invoice # 869976
 c/o Chris Chickanosky, Chairman                                                                          September 21, 2022
 2940 Pacific Dr.
 Norcross, GA 30071




 Matter Description: Employment and Fee Applications                               For Services Through 08-31-2022




 IRS No.                                                                                       TELEPHONE: 216.592.5000

 PLEASE REMIT TO:                                                                   DIRECT ALL OTHER CORRESPONDENCE TO:
 TUCKER ELLIS LLP                                                                                    950 MAIN AVENUE
 P.O. BOX 74717                                                                                            SUITE 1100
 CLEVELAND, OH 44194-4717                                                                    CLEVELAND, OH 44113-7213


                                     NET DUE UPON RECEIPT




                                                     Fees for legal services .............................. $        2,042.50


                                                     Total disbursements ................................. $               0.00

                                                     Total Fees and Disbursements                          $        2,042.50




 Wire/ACH Payment Instructions:                      Please detach this page and return with your payment.
 KeyBank
 ABA:
 Account:
 SWIFT:
Case 22-52950-pmb          Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46                                      Desc Main
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 Atlanta Light Bulbs, Inc.
 Attn: Chris Chickanosky, Chairman
 c/o Chris Chickanosky, Chairman
 2940 Pacific Dr.
 Norcross, GA 30071




 Our File # 018502-000009                                                         For Services Through 08-31-2022
 Employment and Fee Applications



 06/08/22    Draft appearance for ALB (0.3).
 Counsel     Brian J. Jackiw                                         0.30 hrs

 06/10/22    Draft TE Retention application (1.5); and declaration of Jason Torf (0.7); and order approving
             retention application (0.5).
 Counsel     Brian J. Jackiw                                     2.70 hrs

 06/13/22    Conference with Sonya Bain regarding filing of retention applications and finalizing the same
             (0.5).
 Counsel     Brian J. Jackiw                                    0.50 hrs

 06/21/22    Review various e-mails from Katy Furr (0.3); and Jason Torf (0.2) regarding Tucker Ellis
             retention documents and court directions to edit original order. Review e-mail from Katy Furr
             regarding issues related to retention as local counsel (0.2); review pro hac's entered by court
             (0.1).
 Counsel     Brian J. Jackiw                                     0.80 hrs


                                                    Fees for legal services .............................. $        2,042.50




                                               BILLING SUMMARY

                                                       HOURS               RATE/HR                 DOLLARS
               Brian J. Jackiw                           4.30                475.00                 2,042.50
               Total Fees                                4.30                                      2,042.50



                                                    Fees for legal services .............................. $        2,042.50




                                                    Total Fees and Disbursements                          $         2,042.50
Case 22-52950-pmb   Doc 145 Filed 09/26/22 Entered 09/26/22 11:17:46    Desc Main
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                                                                    018502-000009
                                                                   Invoice #869976
                                                                September 21, 2022
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